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AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)


                                       UNITED STATES DISTRICT COURT
                                                                      for the                                                 Mar 31 2020
                                                           Southern District of California                               CLERK, U.S. DISTRICT COURT
                                                                                                                      SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                      BY         s/ soniad       DEPUTY
                  Irvin Musgrove - Pro Se                                      )
                         Plaintiff/Petitioner                                  )
                                  v.                                           )          Civil Action No.    '20CV0614 GPC BLM
     Margery Pierce & Keysa Machado Oceanside                                  )
                       Defendant/Respondent                                    )

        APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                        (Long Form)


 Affidavit in Support of the Application                                     Instructions

 I am a plaintiff or petitioner in this case and declare                     Complete all questions in this application and then sign it.
 that I am unable to pay the costs of these proceedings                      Do not leave any blanks: if the answer to a question is "O,"
 and that I am entitled to the relief requested. I declare                   "none," or "not applicable (N/A)," write that response. If
 under penalty of perjury that the information below is                      you need more space to answer a question or to explain your
 true and understand that a false statement may result in                    answer, attach a separate sheet of paper identified with your
 a dismissal of my claims.                                                   name, your case's docket number, and the question number.

 Signed:       Irvin Musgrove                                                Date:              03/30/2020


1.         For both you and your spouse estimate the average amount of money received from each of the following
           sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
           semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions
           for taxes or otherwise.
                       Income source                                    Average monthly income                        Income amount expected
                                                                        amount during the past 12                           next month
                                                                                months
                                                                          You            Spouse                         You             Spouse
Employment                                                                         0.00                    0.00             0.00             0.00
                                                                   $                        $                     $                 $
Self-employment
                                                                   $               0.00     $              0.00   $         0.00    $         0.00
Income from real property (such as rental income)
                                                                   $               0.00     $              0.00   $         0.00    $         0.00
Interest and dividends
                                                                   $               0.00     $              0.00   $         0.00    $         0.00
Gifts
                                                                   $               0.00     $              0.00   $         0.00    $         0.00
Alimony
                                                                   $               0.00     $              0.00   $         0.00    $         0.00
 Child support
                                                                   $               0.00     $              0.00   $         0.00    $         0.00
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Retirement (such as social security, pensions, annuities,
                                                                  $             0.00      $                0.00   $      0.00       $         0.00
insurance)
Disability (such as social security, insurance payments)
                                                                  $             0.00      $                0.00   $      0.00       $         0.00
Unemployment payments
                                                                  $             0.00      $                0.00   $      0.00       $         0.00
Public~assistance (such as we(fare)
                                                                   $            0.00      $                0.00   $      0.00       $         0.00
Other (specify):
                                                                   $             0.00     $                0.00   $      0.00       $         0.00

                                                                   $               0.00 $                   0.00 $           0.00 $             0.00
                                 Total monthly income:

2.        List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
          other deductions.)

Employer                             Address                                                        Dates of employment                Gross
                                                                                                                                     monthlv nav
N/A                                   N/A                                                  N/A                                      $         0.00

NIA                                   N/A                                                  N/A                                      $         0.00


3.        List your spouse's employment history for the past two years, most recent employer first. (Gross mmithly pay is before
           taxes or other deductions.)

Employer                             Address                                                        Dates of employment                   Gross
                                                                                                                                        monthlv nav
 N/A                                  N/A                                                     N/A                                    $        0.00

 N/A                                  NIA                                                     N/A                                    $        0.00

 N/A                                  N/A                                                     N/A                                    $        0.00


4.           How much cash do you and your spouse have?$                                0.00

             Below, state any money you or your spouse have in bank accounts or in any other financial institution.

Financial institution                           Type of account                                     Amount you have                 Amount your
                                                                                                                                     snouse has
 N/A                                             N/A                                       $                          0.00      $              0.00

 N/A                                             N/A                                       $                          0.00      $              0.00

 N/A                                             N/A                                       $                          0.00      $              0.00


If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.
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5.        List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
          household furnishings.

                                                       Assets owned by you or your spouse


Home (Value)                                                                                                   $                         0.00

Other real estate (Value)
                                                                                                               $                         0.00

Motor vehicle #1 (Value)                                                                                       $                  1,000.00

                  Make and year: Acura

                  Model:                3.2TL

                  Registration #:

Motor vehicle #2 (Value)

                  Make and year: N/ A

                  Model:                NIA
                  Registration#: N/A

Other assets (Value)                                                                                           $                         0.00

Other assets (Value)                                                                                           $                         0.00


6.         State every person, business, or organization owing you or your spouse money, and the amount owed.

Person owing you or your spouse                             Amount owed to you                              Amount owed to your spouse
money
 N/A                                             $                                          0.00     $                                   0.00

 N/A                                             $                                          0.00      $                                  0.00

 N/A                                             $                                          0.00      $                                  0.00


 7.        State the persons who rely on you or your spouse for support.

 Name (or, if under 18, initials only)                                        Relationship                                       Age

 Noah Musgrove                                                                 Son                                               13

  N/A                                                                          N/A                                               0

  N/A                                                                          N/A                                               0
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8.        Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
          spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
          monthly rate.                                                                                                                                                                            .i
                                                                                                                                                                                                    '
                                                                                                                           You                              Your spouse

Rent or home-mortgage payment (including lot rented for mobile home)
        Are real estate taxes included? ~ Yes 0 No                                                         $                          0.00              $                       0.00
        Is property insurance included? f/J Yes 0 No
Utilities (electricity, heatingfi1el, water, sewer, and telephone)                                         $                          0.00              $                       0.00

Home maintenance (repairs and upkeep)                                                                      $                          0.00              $                       0.00

Food                                                                                                       $                          0.00              $                       0.00

Clothing                                                                                                   $                          0.00              $                       0.00

Laundry and dry-cleaning                                                                                   $                          0.00              $                       0.00

Medical and dental expenses                                                                                $                          0.00              $                       0.00

Transportation (not including motor vehicle payments)                                                      $                          0.00              $                       0.00

Recreation, entertainment, newspapers, magazines, etc.                                                     $                          0.00              $                       0.00

Insurance (not deductedfiwn wages or included in mortgage payments)                                        I :;:
                                                                                                           Ii                  ' ····:,~'
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                                                                                                                                                          . . ,.,.},
           Homeowner's or renter's: N/A                                                                    $                           0.00             $                        0.00

           Life:                             N/A                                                           $                           0.00             $                        0.00

           Health:                           N/A                                                           $                           0.00             $                        0.00

           Motor vehicle:                    35                                                            $                           0.00             $                        0.00

           Other:                            N/A                                                           $                           0.00             $                        0.00

Taxes (not deducted from wages or included in mortgage payments) (specify):
                                                                                                            $                          0.00             $                        0.00

                                                                                                                           ,,-i~}~f~Ir~~~G:~~~\ ;~-~~-- -~:c :-: ~~:;~:;: ::~~H~{;(~{tilr?!::~:-
 Installment payments
                                                                                                           ~:::~:,-:>~"-
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           Motor vehicle:                    N/A                                                            $                          0.00             $                        0.00

           Credit card (name):               N/A                                                            $                          0.00             $                        0.00

           Department store (name): N/A                                                                     $                           0.00            $                        0.00

           Other:                            N/A                                                            $                           0.00            $                        0.00
                                                      '

 Alimony, maintenance, and support paid to others                                                           $                           0.00            $                        0.00
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Regular expenses for operation of business, profession, or farm (attach detailed                           $   0.00   $           0.00
statement)

Other (specify): N/A                                                                                       $   0.00   $           0.00

                                                                                                           $    0.00 $              0.00
                                                                       Total monthly expenses:

9.        Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the
          next 12 months?
             0 Yes       :t!!J No         If yes, describe on an attached sheet.

10.       Have you spent - or will you be• spending -                  any money for expenses or attorney fees in conjunction with this
          lawsuit? 0 Yes :t!!JNo
          If yes, how much? 0 _ _ _ _ _ _ _ __

11.       Provide any other information that will help explain why you cannot pay the costs of these proceedings.
            I am a single father of a 13 year old who was taken by CPS for us being wrongfully forced into
            homelessness by the Oceanside Housing Authority. I had cash aid and food stamps but now only
            receive $195 per month in food stamps. I will reunify wlth Noah in May. I'm here because of the
            violations 0HA committed against my family
12.          Identify the city and state of your legal residence.

                Oceanside, CA

             Your daytime phone number:                      4422378886
                                                                     ~---

             Yourage: _5fi_ ___         Your years of schooling:              - 12
                                                                                ---
